                          United States District Court
                        Western District of North Carolina
                               Asheville Division

        Phillip Wayne Broyal,         )              JUDGMENT IN CASE
                                      )
             Petitioner(s),           )                1:20-cv-00390-MR
                                      )
                  vs.                 )
                                      )
         Eric A. Hooks, et al,        )
            Respondent(s).            )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 27, 2021 Order.

                                               October 27, 2021




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